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                                                                                         IN THE UNITED STATES DISTRICT COURT
                                                                                            FOR THE DISTRICT OF COLORADO
                                                                                                 Judge Daniel D. Domenico
         Case No. 20-cr-00305-DDD

ase Title: United States of America v. Tew et al.


                                                                                      GOVERNMENT’S PRELIMINARY EXHIBIT LIST


                   Exhibit                                                                              Brief Description                                                  BEG Bates #      END Bates #                   902 Declaration
                       1               INTENTIONALLY LEFT BLANK
                      2                Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 08.01.2018-08.31.2018                    SIG_00000005     SIG_00000011      SIG_00006978
                      3                Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 10.01.2018-10.31.2018                    SIG_00000018     SIG_00000023      SIG_00006978
                      4                INTENTIONALLY LEFT BLANK
                      5                Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 11.01.2018-11.30.2018                    SIG_00000024     SIG_00000029      SIG_00006978
                      6                BBVA Compass Statement re Account x0987 [5530JD], statement period 11.01.2018-11.30.2018                                         BBVA_00000444    BBVA_00000446     BBVA_00000002
                      7                Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 12.01.2018-12.31.2018                    SIG_00000030     SIG_00000035      SIG_00006978
                       8               Signature Bank ACH Transaction re $15,250 to [PM], dated 02.07.2019                                                              NAC_00000303                       SIG_00006978
                       9               Signature Bank ACH Transaction re $15,250 to [PM], dated 02.19.2019                                                              NAC_00000304                       SIG_00006978
                      10               Signature Bank ACH Transaction re $38,000 to [PM], dated 03.28.2019                                                              NAC_00000309                       SIG_00006978
                      11               Signature Bank ACH Transaction re $11,250 to [PM], dated 04.03.2019                                                              NAC_00000310                       SIG_00006978
                      12               Signature Bank ACH Transaction re $45,000 to Global Fuel Logistics, dated 07.23.2019                                             NAC_00000157                       SIG_00006978
                      13               Signature Bank ACH Transaction re $31,500 to SHI LLC, dated 08.06.2019                                                           NAC_00000161                       SIG_00006978
                      14               Signature Bank ACH Transaction re $9,500 to Global Fuel Logistics, dated 08.19.2019                                              NAC_00000165                       SIG_00006978
                      15               Signature Bank ACH Transaction re $28,000 to SHI LLC, dated 08.21.2019                                                           NAC_00000166                       SIG_00006978
                      16               Signature Bank ACH Transaction re $45,000 to Global Fuel Logistics, dated 09.03.2019                                             NAC_00000169                       SIG_00006978
                      17               Signature Bank ACH Transaction re $18,000 to SHI LLC, dated 09.09.2019                                                           NAC_00000191                       SIG_00006978
                      18               Signature Bank ACH Transaction re $33,500 to SHI LLC, dated 09.17.2019                                                           NAC_00000195                       SIG_00006978
                      19               Signature Bank ACH Transaction re $52,750 to SHI LLC, dated 09.25.2019                                                           NAC_00000197                       SIG_00006978
                      20               Signature Bank ACH Transaction re $75,000 to Global Fuel Logistics, dated 10.16.2019                                             NAC_00000201                       SIG_00006978
                      21               Signature Bank ACH Transaction re $43,000 to Global Fuel Logistics, dated 10.24.2019                                             NAC_00000203                       SIG_00006978
                      22               Signature Bank ACH Transaction re $49,750 to SHI LLC, dated 10.31.2019                                                           NAC_00000205                       SIG_00006978
                      23               Signature Bank ACH Transaction re $40,500 to SHI LLC, dated 11.07.2019                                                           NAC_00000206                       SIG_00006978
                      24               Signature Bank ACH Transaction re $43,250 to Global Fuel Logistics, dated 11.25.2019                                             NAC_00000209                       SIG_00006978
                      25               Signature Bank ACH Transaction re $9,550 to Global Fuel Logistics, dated 12.02.2019                                              NAC_00000211                       SIG_00006978
                      26               Signature Bank ACH Transaction re $24,500 to Global Fuel Logistics, dated 12.11.2019                                             NAC_00000214                       SIG_00006978
                      27               Signature Bank ACH Transaction re $15,200 to Global Fuel Logistics, dated 12.23.2019                                             NAC_00000437                       SIG_00006978
                      28               Signature Bank ACH Transaction re $33,000 to Global Fuel Logistics, dated 02.11.2020                                             NAC_00000442                       SIG_00006978
                      29               Signature Bank ACH Transaction re $95,000 to Global Fuel Logistics, dated 02.19.2020                                             NAC_00000444                       SIG_00006978
                      30               Signature Bank ACH Transaction re $36,555 to Global Fuel Logistics, dated 03.02.2020                                             NAC_00000447                       SIG_00006978
                      31               Signature Bank ACH Transaction re $35,000 to Global Fuel Logistics, dated 03.09.2020                                             NAC_00000449                       SIG_00006978
                      32               Signature Bank ACH Transaction re $22,5000 to Global Fuel Logistics, dated 03.19.2020                                            NAC_00000452                       SIG_00006978
                      33               Signature Bank ACH Transaction re $73,460 to Global Fuel Logistics, dated 03.31.2020                                             NAC_00000402                       SIG_00006978
                      34               Signature Bank ACH Transaction re $36,925 to Global Fuel Logistics, dated 04.06.2020                                             NAC_00000456                       SIG_00006978
                      35               Signature Bank ACH Transaction re $68,255 to Global Fuel Logistics, dated 04.15.2020                                             NAC_00000170                       SIG_00006978
                      36               Signature Bank ACH Transaction re $46,850 to Global Fuel Logistics, dated 04.27.2020                                             NAC_00000172                       SIG_00006978
                      37               Signature Bank ACH Transaction re $85,325 to Global Fuel Logistics, dated 05.05.2020                                             NAC_00000459                       SIG_00006978
                      38               Signature Bank ACH Transaction re $82,422 to Global Fuel Logistics, dated 05.12.2020                                             NAC_00000174                       SIG_00006978
                      39               Signature Bank ACH Transaction re $78,565 to Global Fuel Logistics, dated 05.20.2020                                             NAC_00000176                       SIG_00006978
                      40               Signature Bank ACH Transaction re $95,000 to Global Fuel Logistics, dated 07.02.2020                                             NAC_00000537                       SIG_00006978
                      41               INTENTIONALLY LEFT BLANK
                      42               Navy Federal Credit Union Transaction Log Summary re Acct x8486 $15,000 Withdrawl, dated 06.04.2019                              NAVY_00000392                      NAVY_000000002; NAVY_00000003
                      43               Navy Federal Credit Union Transaction Log Summary re Acct x8486 $15,000 Withdrawl, dated 06.11.2019                              NAVY_00000394                      NAVY_000000002; NAVY_00000003
                      44               Wells Fargo Bank Withdrawl Slip re Acct x6934 $22,000 Withdrawl, dated 08.28.2019                                                WFB_00000183                       WFB_00000144-WFB_00000146
                      45               Wells Fargo Bank Withdrawl Slip re Acct x2064 $25,000 Withdrawl, dated 08.29.2019                                                WFB_00000155                       WFB_00000144-WFB_00000146
                      46               Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 08.17.2019-09.16.2019                          NAVY_00000517    NAVY_00000526     NAVY_000000002; NAVY_00000003
                      47               Wells Fargo Bank Wire Transaction Report re Acct x6934 $15,000, dated 09.18.2019                                                 WFB_00001020                       WFB_00001054-WFB_00001058
                      48               Wells Fargo Bank Withdrawl Slip re Acct x6934 $20,000 Withdrawl, dated 089.26.2019                                               WFB_00000192                       WFB_00000144-WFB_00000146
                      49               Wells Fargo Bank Withdrawl Slip re Acct x6934 $20,000 Withdrawl, dated 09.27.2019                                                WFB_00000194                       WFB_00000144-WFB_00000146
                      50               Wells Fargo Bank Withdrawl Slip re Acct x6934 $20,000 Withdrawl, dated 10.01.2019                                                WFB_00000195                       WFB_00000144-WFB_00000146
                      51               Wells Fargo Bank Withdrawl Slip re Acct x6934 $12,000 Withdrawl, dated 10.02.2019                                                WFB_00000196                       WFB_00000144-WFB_00000146

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Exhibit                                                                       Brief Description                                                               BEG Bates #      END Bates #                   902 Declaration
    52      Wells Fargo Bank Statement re Account x6934 Sand Hill, dated 11.30.2019                                                                        WFB_00000745     WFB_00000750      WFB_00000144-WFB_00000146
    53      Wells Fargo Bank Withdrawl Slip re Acct x2064 $20,000 Withdrawl, dated 02.20.2020                                                              WFB_00000164                       WFB_00000144-WFB_00000146
    54      Wells Fargo Bank Withdrawl Slip re Acct x2064 $15,000 Withdrawl, dated 02.21.2020                                                              WFB_00000165                       WFB_00000144-WFB_00000146
    55      Wells Fargo Bank Withdrawl Slip re Acct x2064 $20,000 Withdrawl, dated 02.27.2020                                                              WFB_00000166                       WFB_00000144-WFB_00000146
    56      Wells Fargo Bank Withdrawl Slip re Acct x2064 $20,000 Withdrawl, dated 03.03.2020                                                              WFB_00000167                       WFB_00000144-WFB_00000146
   101      2016 Gross Income Summary for Michael Tew                                                                                                                                         N/A
   102      2017 Gross Income Summary for Michael Tew                                                                                                                                         N/A
   103      2018 Gross Income Summary for Michael Tew                                                                                                                                         N/A
   104      2019 Gross Income Summary for Michael Tew                                                                                                                                         N/A
   105      Internal Revenue Service 2019 Account Transcript                                                                                                                                  N/A
 106-201    INTENTIONALLY LEFT BLANK
   202      Guaranty Bank and Trust Statement re Account x7867 Michael Tew, statement 2018.08.31                                                           GUAR_00000047    GUAR_00000059     GUAR_00000001
   203      Regions Bank Statement re Account x4514 [M.M.], statement period 10.12.2018-11.08.2018                                                         REG_00000177     REG_00000181      REG_00000001
   204      INTENTIONALLY LEFT BLANK
   205      Regions Bank Statement re Account x4514 [M.M.], statement period 11.09.2018-12.10.2018                                                         REG_00000171     REG_00000175      REG_00000001
   206      INTENTIONALLY LEFT BLANK
   207      ANB Bank Statement re Account x3099 [M.M.], dated 12.18.2018                                                                                   ANB_00000048     ANB_00000052      ANB_0000002
   208      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 01.17.2019-02.16.2019                                      NAVY_00000020    NAVY_00000029     NAVY_000000002; NAVY_00000003
   209      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 02.17.2019-03.16.2019                                      NAVY_00000030    NAVY_00000039     NAVY_000000002; NAVY_00000003
   210      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 03.17.2019-04.16.2019                                      NAVY_00000040    NAVY_00000054     NAVY_000000002; NAVY_00000003
   211      INTENTIONALLY LEFT BLANK
   212      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 07.17.2019-08.16.2019                                        NAVY_00000508    NAVY_00000516     NAVY_000000002; NAVY_00000003
   213      Wells Fargo Bank Statement re Account x6934 Sand Hill, dated 08.31.2019                                                                        WFB_00000724     WFB_00000731      WFB_00000144-WFB_00000146
214 - 215   INTENTIONALLY LEFT BLANK
   216      INTENTIONALLY LEFT BLANK
   217      Wells Fargo Bank Statement re Account x6934 Sand Hill, dated 09.30.2019                                                                        WFB_00000732     WFB_00000738      WFB_00000144-WFB_00000146
218 - 219   INTENTIONALLY LEFT BLANK
   220      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 10.31.2019                                                            WFB_00000592     WFB_00000596      WFB_00000144-WFB_00000146
   221      INTENTIONALLY LEFT BLANK
   222      Wells Fargo Bank Statement re Account x6934 Sand Hill, dated 11.30.2019                                                                        WFB_00000745     WFB_00000750      WFB_00000144-WFB_00000146
   223      INTENTIONALLY LEFT BLANK
   224      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 11.30.2019                                                            WFB_00000597     WFB_00000602      WFB_00000144-WFB_00000146
   225      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 11.17.2019-12.16.2019                                        NAVY_00000550    NAVY_00000561     NAVY_000000002; NAVY_00000003
   226      INTENTIONALLY LEFT BLANK
   227      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 12.17.2019-01.16.2020                                        NAVY_00001284    NAVY_00001300
   228      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 01.17.2020-02.16.2020                                        NAVY_00001301    NAVY_00001313
   229      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 02.29.2020                                                            WFB_00000612     WFB_00000616      WFB_00000144-WFB_00000146
   230      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 03.31.2020                                                            WFB_00000617     WFB_00000621      WFB_00000144-WFB_00000146
   231      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 02.17.2020-03.16.2020                                        NAVY_00001314    NAVY_00001324
   232      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 03.17.2020-04.16.2020                                        NAVY_00001325    NAVY_00001340
233 - 235   INTENTIONALLY LEFT BLANK
   236      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 04.17.2020-05.16.2020                                        NAVY_00001341    NAVY_00001355
237 - 238   INTENTIONALLY LEFT BLANK
   239      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 05.17.2020-06.16.2020                                        NAVY_00001356    NAVY_00001379
   240      Navy Federal Credit Union Transaction Details re Access x1390, Account x3094 Global Fuel Logistics, transaction period 07.20.2020-07.08.2020   NAVY_00002205
   241      INTENTIONALLY LEFT BLANK
   242      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 05.17.2019-06.16.2019                                      NAVY_00000079    NAVY_00000101     NAVY_000000002; NAVY_00000003
243 - 244   INTENTIONALLY LEFT BLANK
   245      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 08.31.2019                                                            WFB_00000584     WFB_00000587      WFB_00000144-WFB_00000146
   246      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 08.17.2019-09.16.2019                                      NAVY_00000141    NAVY_00000163     NAVY_000000002; NAVY_00000003
247 -249    INTENTIONALLY LEFT BLANK
   250      Wells Fargo Bank Statement re Account x6934 Sand Hill, dated 10.31.2019                                                                        WFB_00000739     WFB_00000744      WFB_00000144-WFB_00000146
 251-300    INTENTIONALLY LEFT BLANK
   301      ANB Bank Signature Card re Account x3099 [M.M.]                                                                                                ANB_00000037                       ANB_00000001
   302      Guaranty Bank and Trust Signature Card re Account x7867 Michael Tew                                                                            GUAR_00000034                      GUAR_00000001
   303      Navy Federal Credit Union Application re Kimberley Tew and Michael Tew                                                                         NAVY_00001959    NAVY_00001968
   304      Navy Federal Credit Union Application re Global Fuel Logistics                                                                                 NAVY_00000850    NAVY_00000857
   305      Regions Bank Signature Cards re Account x0514 [M.M.]                                                                                           REG_00000219     REG_00000220      REG_00000001
   306      Wells Fargo Bank Signature Card re Account x6934 Sand Hill, LLC                                                                                WFB_00000536     WFB_00000539      WFB_00000144-WFB_00000146
   307      Wells Fargo Bank Signature Card re Account x2064 Global Fuel Logistics                                                                         WFB_00000532     WFB_00000535      WFB_00000144-WFB_00000146


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Exhibit                                                                      Brief Description                                                                     BEG Bates #        END Bates #                   902 Declaration
  308       Signature Bank Signature Card re Accounts x5545 and x6150 National Air Cargo Group, Inc                                                            SIG_00002876        SIG_00002878      SIG_00006978
  309       Signature Bank Signature Card re Accounts x5529, x6363, x6355, and x6134 National Air Cargo Group, Inc                                             SIG_00002888        SIG_00002890      SIG_00006978
  310       INTENTIONALLY LEFT BLANK
  311       BBVA Compass Signature Card re Account x0987 [5530JD]                                                                                              BBVA_00000404       BBVA_00000405     BBVA_00000281-BBVA_00000283
  312       Access National Bank Statement re Account x5965 [PM]., statement period 12.01.2018-12.31.2018                                                      ACNB_00000438       ACNB_00000443     ACNB_00000101
  313       Simple Signature Card for Kimberley Tew                                                                                                            SFT_00000173                          SFT_00000001
  314       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 07.17.2019-08.16.2019                                          NAVY_00000120       NAVY_00000140     NAVY_000000002; NAVY_00000003
  315       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 09.17.2019-10.16.2019                                          NAVY_00000164       NAVY_00000187     NAVY_000000002; NAVY_00000003
  316       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 10.17.2019-11.16.2019                                          NAVY_00000188       NAVY_00000223     NAVY_000000002; NAVY_00000003
  317       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 11.17.2019-12.16.2019                                          NAVY_00000224       NAVY_00000262     NAVY_000000002; NAVY_00000003
  318       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 12.17.2019-01.16.2020                                          NAVY_00000918       NAVY_00000958
  319       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 01.17.2020-02.16.2020                                          NAVY_00000959       NAVY_00000999
  320       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 02.17.2020-03.16.2020                                          NAVY_00001000       NAVY_00001038
  321       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 03.17.2020-04.16.2020                                          NAVY_00001039       NAVY_00001078
  322       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 04.17.2020-05.16.2020                                          NAVY_00001079       NAVY_00001121
  323       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 05.17.2020-06.16.2020                                          NAVY_00001122       NAVY_00001169
  324       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 01.08.2019-01.16.2019                                            NAVY_00000458       NAVY_00000461     NAVY_000000002; NAVY_00000003
  325       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 01.17.2019-02.16.2019                                            NAVY_00000462       NAVY_00000466     NAVY_000000002; NAVY_00000003
  326       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 02.17.2019-03.16.2019                                            NAVY_00000467       NAVY_00000471     NAVY_000000002; NAVY_00000003
  327       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 03.17.2019-04.16.2019                                            NAVY_00000472       NAVY_00000478     NAVY_000000002; NAVY_00000003
  328       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 04.17.2019-05.16.2019                                            NAVY_00000479       NAVY_00000488     NAVY_000000002; NAVY_00000003
  329       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 05.17.2019-06.16.2019                                            NAVY_00000489       NAVY_00000498     NAVY_000000002; NAVY_00000003
  330       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 06.17.2019-07.16.2019                                            NAVY_00000499       NAVY_00000507     NAVY_000000002; NAVY_00000003
  331       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 09.17.2019-10.16.2019                                            NAVY_00000527       NAVY_00000536     NAVY_000000002; NAVY_00000003
  332       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 10.17.2019-11.16.2019                                            NAVY_00000537       NAVY_00000549     NAVY_000000002; NAVY_00000003
  333       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 11.17.2019-12.16.2019                                            NAVY_00001272       NAVY_00001283
  334       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 09.30.2019                                                                WFB_00002339        WFB_00002342      WFB_00001054-WFB_00001058
  335       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 11.30.2019                                                                WFB_00002348        WFB_00002353      WFB_00001054-WFB_00001058
  336       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 12.31.2019                                                                WFB_00002354        WFB_00002358      WFB_00001054-WFB_00001058
  337       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 01.31.2020                                                                WFB_00002359        WFB_00002362      WFB_00001054-WFB_00001058
  338       Wells Fargo Bank Statement re Account x6934 Sand Hill, LLC, dated 09.30.2019                                                                       WFB_00002517        WFB_00002523      WFB_00001054-WFB_00001058
  339       Wells Fargo Bank Statement re Account x6934 Sand Hill, LLC, dated 10.31.2019                                                                       WFB_00002524        WFB_00002529      WFB_00001054-WFB_00001058
  340       Wells Fargo Bank Statement re Account x6934 Sand Hill, LLC, dated 12.31.2019                                                                       WFB_00002536        WFB_00002540      WFB_00001054-WFB_00001058
341 - 355   INTENTIONALLY LEFT BLANK
  356       Navy Federal Credit Union Surveillance Photo, dated 06.11.2019                                                                                     NAVY_00001778
  357       Signature Bank ACH Transaction re $15,000 to [5530JD], dated 08.22.2018                                                                            SIG_00000142        SIG_00000143      SIG_00006978
  358       Signature Bank ACH Transaction re $15,000 to [5530JD], dated 08.23.2018                                                                            SIG_00000143        SIG_00000144      SIG_00006978
  359       Signature Bank ACH Transaction re $15,000 to [5530JD], dated 09.10.2018                                                                            SIG_00000149        SIG_00000150      SIG_00006978
  360       Signature Bank ACH Transaction re $15,000 to [5530JD], dated 09.18.2018                                                                            SIG_00000151        SIG_00000152      SIG_00006978
  361       Signature Bank ACH Transaction re $15,000 to [5530JD], dated 09.28.2018                                                                            SIG_00000155        SIG_00000156      SIG_00006978
  362       Signature Bank ACH Transaction re $30,000 to [M.M.], dated 12.03.2018                                                                              NAC_E_00059594                        SIG_00006978
  363       Access National Bank Statement re Account x5965 [PM]., statement period 12.01.2018-12.31.2018                                                      ACNB_00000438       ACNB_00000443     ACNB_000000101
  364       ANB Bank Statement re Account x3099 [M.M.], dated 01.04.2019                                                                                       ANB_00000053        ANB_00000055      ANB_00000001
  365       Signature Bank ACH Transaction re $21,000 to [PM]., dated 01.23.2019                                                                               NAC_00000565                          SIG_00006978
  366       Signature Bank ACH Transaction re $15,312.50 to [PM]., dated 01.07.2019                                                                            NAC_00000299                          SIG_00006978
  367       Signature Bank ACH Transaction re $23,350 to [PM]., dated 01.10.2019                                                                               NAC_00000300                          SIG_00006978
  368       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 01.07.2019-01.16.2019                                          NAVY_00000013       NAVY_00000019     NAVY_000000002; NAVY_00000003
  369       Signature Bank ACH Transaction re $28,000 to [PM]., dated 01.18.2019                                                                               NAC_00000301                          SIG_00006978
  370       Signature Bank ACH Transaction re $31,500 to [PM]., dated 03.14.2019                                                                               NAC_00000306                          SIG_00006978
  371       Signature Bank ACH Transaction re $37,800 to [PM]., dated 03.04.2019                                                                               NAC_00000305                          SIG_00006978
  372       Signature Bank ACH Transaction re $20,250 to [PM]., dated 03.19.2019                                                                               NAC_00000307                          SIG_00006978

  373       Signature Bank ACH Transactions re: $37,500 to [PM]., dated 04.08.2019; $18,750 to [PM]., dated 04.11.2019; and $18,750 to [PM]., dated 04.15.2019     NAC_00000311    NAC_00000313      SIG_00006978
  374       Signature Bank ACH Transaction re $18,750 to [PM]., dated 04.17.2019                                                                                   NAC_00000314                      SIG_00006978
            Signature Bank ACH Transactions re: $18,750 to [PM]., dated 04.22.2019; $18,750 to [PM]., dated 04.24.2019; $38,640 to [PM], dated 04.29.2019; and
  375       $19,890 to [PM], dated 05.07.2019                                                                                                                      NAC_00000315    NAC_00000318      SIG_00006978
  376       Signature Bank ACH Transactions re: $49,750 to [PM], dated 05.07.2019; and $40,000 to [PM]., dated 05.10.2019                                          NAC_00000319    NAC_00000320      SIG_00006978
            Signature Bank ACH Transactions re: $19,900 to [PM], dated 05.15.2019; $23,785 to [PM], dated 05.21.2019; $9,950 to [PM], dated 05.23.2019; $11,150 to
  377       [PM], dated 05.28.2019; and $10,100 to [PM]., dated 05.29.2019                                                                                         NAC_00000321    NAC_00000325      SIG_00006978
  378       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 04.17.2019-05.16.2019                                              NAVY_00000055   NAVY_00000078     NAVY_000000002; NAVY_00000003


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Exhibit                                                                    Brief Description                                                                       BEG Bates #         END Bates #                   902 Declaration


 379      Signature Bank ACH Transactions re: $53,500 to [PM], dated 06.03.2019; $28,000 to [PM], dated 06.10.2019; and $9,500 to [PM], dated 06.13.2019           NAC_00000326     NAC_00000328      SIG_00006978
          Signature Bank ACH Transactions re: $50,000 to [PM]., dated 06.20.2019; $15,000 to [PM], dated 06.25.2019; and $30,000 to Sand Hill LLC, dated
 380      06.26.2019                                                                                                                                               NAC_00000329     NAC_00000331      SIG_00006978
 381      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 06.17.2019-07.16.2019                                                NAVY_00000102    NAVY_00000119     NAVY_000000002; NAVY_00000003
 382      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, statement period 06.01.2019-06.30-2019                                                        WFB_00000713     WFB_00000717      WFB_00000144-WFB_00000146
          Signature Bank ACH Transactions re: $45,000 to Global Fuel Logistics, dated 07.30.2019; $47,000 to SHI LLC, dated 08.01.2019; and $30,000 to SHI LLC,
 383      dated 08.05.2019                                                                                                                                         NAC_00000158     NAC_00000160      SIG_00006978
          Signature Bank ACH Transactions re: $9,200 to Sand Hill LLC, dated 06.28.2019; $13,000 to SHI LLC, dated 07.09.2019; $27,475 to SHI LLC, dated
 384      07.11.2019; and $10,000 to SHI LLC, dated 07.19.2019                                                                                                     NAC_00000332     NAC_00000335      SIG_00006978
 385      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, statement period 07.01.2019-07.31-2019                                                        WFB_00000718     WFB_00000723      WFB_00000144-WFB_00000146
 386      Signature Bank ACH Transaction re $12,900 to Global Fuel Logistics, dated 01.07.2020                                                                     NAC_00000411                       SIG_00006978
          Signature Bank ACH Transactions re: $15,500 to Global Fuel Logistics, dated 01.10.2020; $19,500 to Global Fuel Logistics, dated 01.17.2020; $9,800 to
          Global Fuel Logisitics, dated 01.22.2020; $13,500 to Global Fuel Logistics, dated 01.23.2020; $36,500 to Global Fuel Logistics, dated 01.27.2020; and
 387      $7,200 to Global Fuel Logistics, dated 01.30.2020                                                                                                        NAC_00000412     NAC_00000417      SIG_00006978
 388      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, statement period 01.01.2020-01.31-2020                                                WFB_00000608     WFB_00000611      WFB_00000144-WFB_00000146
 389      Signature Bank ACH Transaction re $24,700 to Global Fuel Logistics, dated 03.05.2020                                                                     NAC_00000448                       SIG_00006978
          Signature Bank ACH Transactions re: $97,545 to Global Fuel Logistics, dated 06.22.2020; $71,550 to Global Fuel Logistics, dated 06.24.2020; and $105,000
 390      to Global Fuel Logisitics, dated 06.29.2020                                                                                                              NAC_00000461     NAC_00000463      SIG_00006978
 391      Signature Bank ACH Transaction re $83,526 to Global Fuel Logistics, dated 06.02.2020                                                                     NAC_00000532                       SIG_00006978
          Signature Bank ACH Transactions re: $45,220 to Global Fuel Logistics, dated 06.04.2020; $93,135 to Global Fuel Logistics, dated 06.09.2020; and $93,635
  392     to Global Fuel Logisitics, dated 06.17.2020                                                                                                              NAC_00000533     NAC_00000535      SIG_00006978
  393     Navy Federal Credit Union Statement re Access x1390 Global Fuel Logistics Inc, statement period 06.08.2010-06.30.2020                                    NAVY_00000858    NAVY_00000865
  394     Navy Federal Credit Union Check re Acct x3494 $500.00 to Sand Hill LLC, dated 10.15.19                                                                   NAVY_00000753                      NAVY_000000002; NAVY_00000003
  395     Navy Federal Credit Union Surveillance Photo, dated 04.14.2020                                                                                           NAVY_00001678
  396     Navy Federal Credit Union Surveillance Photo, dated 04.03.2020                                                                                           NAVY_00001684
  397     Navy Federal Credit Union Surveillance Photo, dated 02.04.2020                                                                                           NAVY_00001692
  398     Navy Federal Credit Union Surveillance Photo, dated 01.13.2020                                                                                           NAVY_00001702
  399     Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 08:14:04.950 PM                                                                           NAVY_00001707
  400     Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 07:53:41.888 PM                                                                           NAVY_00001711
  401     Navy Federal Credit Union Surveillance Photo, dated 06.26.2020                                                                                           NAVY_00001717
  402     Navy Federal Credit Union Surveillance Photo, dated 06.08.2020                                                                                           NAVY_00001718
  403     Navy Federal Credit Union Surveillance Photo, dated 03.20.2020 02:19:42.572 PM                                                                           NAVY_00001719
  404     Navy Federal Credit Union Surveillance Photo, dated 03.20.2020 09:23:58.357 PM                                                                           NAVY_00001720
  405     Navy Federal Credit Union Surveillance Photo, dated 03.06.2020                                                                                           NAVY_00001731
  406     Navy Federal Credit Union Surveillance Photo, dated 05.12.2020                                                                                           NAVY_00001737
  407     Navy Federal Credit Union Surveillance Photo, dated 05.04.2020                                                                                           NAVY_00001744
  408     Navy Federal Credit Union Surveillance Photo, dated 04.01.2020 04:02:07.321 PM                                                                           NAVY_00001758
  409     Navy Federal Credit Union Surveillance Photo, dated 04.01.2020 04:05:40.320 PM                                                                           NAVY_00001757
  410     Navy Federal Credit Union Surveillance Photo, dated 02.12.2020                                                                                           NAVY_00001767
  411     Navy Federal Credit Union Surveillance Photo, dated 02.25.2020                                                                                           NAVY_00001770
  412     Navy Federal Credit Union Surveillance Photo, dated 01.23.2020                                                                                           NAVY_00001772
  413     Navy Federal Credit Union Surveillance Photo, dated 01.29.2020                                                                                           NAVY_00001775
  414     Navy Federal Credit Union Surveillance Photo, dated 06.11.2019                                                                                           NAVY_00001779
  415     Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 07:59:59.914 PM                                                                           NAVY_00001780
  416     INTENTIONALLY LEFT BLANK
  417     Navy Federal Credit Union Surveillance Photo, dated 06.30.2020                                                                                           NAVY_00001787
  418     Navy Federal Credit Union Surveillance Photo, dated 06.25.2020                                                                                           NAVY_00001789
  419     Navy Federal Credit Union Surveillance Photo, dated 06.09.2020 05:16:56.734 PM                                                                           NAVY_00001795
  420     Navy Federal Credit Union Surveillance Photo, dated 06.09.2020 05:17:57.737 PM                                                                           NAVY_00001796
  421     Navy Federal Credit Union Surveillance Photo, dated 03.11.2020                                                                                           NAVY_00001797
  422     Navy Federal Credit Union Surveillance Photo, dated 03.18.2020 11:58:06.124 AM                                                                           NAVY_00001805
  423     Navy Federal Credit Union Surveillance Photo, dated 03.18.2020 05:08:46.082 PM                                                                           NAVY_00001800
  424     Navy Federal Credit Union Surveillance Photo, dated 05.12.2020 12:12:35.352 PM                                                                           NAVY_00001823
  425     Navy Federal Credit Union Surveillance Photo, dated 05.12.2020 06:36:34.932 PM                                                                           NAVY_00001821
426-499   INTENTIONALLY LEFT BLANK
  500     Kraken Opening Documents                                                                                                                                 KRKN_00000008                      KRKN_00000001
  501     Kraken Opening Documents                                                                                                                                 KRKN_00000020                      KRKN_00000001
                                                                                                                                                                   COIN_00000027;
 502      Coinbase profile image records for Michael Tew                                                                                                           COIN_00000032
 503      Coinbase profile image records for Kimberley Tew                                                                                                         COIN_00000028    COIN_00000029

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Exhibit                                                                       Brief Description                                       BEG Bates #      END Bates #                   902 Declaration
 504      PayPal Account Record                                                                                                    PAY_00000092
 505      McDonald Audi Purchase Documents re 2016 Audi A4 VIN x2447, dated 10.03.2019                                             AUDI_00000001    AUDI_00000037
 506      McDonald Audi Wire Transfer Records re $20,611,01 Incoming Money Transfer, dated 11.01.2019                              AUDI_00000038    AUDI_00000039
 507      Wynn Jackpot Report                                                                                                      WYNN_00000174                      WYNN_0000002
 508      Wynn Loss Summary                                                                                                        WYNN_00000179                      WYNN_0000002
 509      Wynn Folio                                                                                                               WYNN_00000689                      WYNN_0000002
 510      Wynn Record                                                                                                              WYNN_00000730    WYNN_00000736     WYNN_0000002
 511      Wynn Las Vegas Hotel stay record re: Kimberley Ann Tew, arrival 09.01.2019 & departure 09.05.2019                        WYNN_00000624                      WYNN_0000002
                                                                                                                                   ORD_00019768;
 512      GoDaddy Records re Domain Name "Global Fuel.Co"                                                                          ORD_00019821                       ORD_00010742
                                                                                                                                   ORD_00019747;
 513      GoDaddy Records re Domain Name "Sandhillrp.com"                                                                          ORD_00019823                       ORD_00010742
 514      AT&T Subscriber Record - x1312                                                                                           ORD_00019224
 515      AT&T Subscriber Record - x7473                                                                                           ORD_00019225
 516      AT&T Subscriber Record x2046                                                                                             ORD_00019223
 517      AT&T Records re Text Messages                                                                                            ORD_00019204
                                                                                                                                   ORD_00019224;
  518     Verizon Records re Jonathan Yioulos 917-685-1312                                                                         ORD_00019331     ORD_00019544      ORD_00019935
  519     Spreadsheet of Verizon Call Records re 585-737-1709                                                                      ORD_00019950                       ORD_00019935
  520     Record re [5530JD] Email Recovery ([C.R.]@gmail.com)                                                                     ORD_00015084
  521     Record re [PM] email recovery ([PM]@gmail.com)                                                                           ORD_00017716                       ORD_00017711
  522     Google Voice record re 469-319-0152                                                                                      ORD_00015068
  523     Google Pay Record                                                                                                        ORD_00019129
  524     IRS Form W-9 re [M.M.], dated 10.11.2018                                                                                 NAC_00000393     NAC_00000398
  525     Colorado Secretary of State Statement of Foreign Entity Authority re: Sand Hill LLC, filed 11.12.2018                    VCORP_00000062   VCORP_00000064    VCORP_00000001
  526     Email re: [5530JD] Invoice #7321116 for $15,000, dated 08.22.2018                                                        NAC_E_00094025   NAC_E_00094026
  527     Email re: [PM]. Invoice #6540 for $15,312.50, dated 01.07.2019                                                           NAC_E_00060953   NAC_E_00060954
  528     Email re: [PM]. Invoice #6775 for $15,250.00, dated 02.07.2019                                                           NAC_E_00053144   NAC_E_00053145
  529     Email re: [PM]. Invoice #7004 for $11,250.00, dated 04.03.2019                                                           NAC_E_00102097   NAC_E_00102098
  530     Email re: [PM]. Invoice #6910 for $30.150.00, dated 04.03.2019                                                           NAC_E_00105163   NAC_E_00105164
  531     Invoice re: [HS CPAs] for $15,000.00 dated 08.08.2018                                                                    NAC_00000906
  532     Invoice #7321116 re: [5530JD] for $15,000.00, dated 08.15.2018                                                           NAC_00000539
  533     Invoice #7321117 re: [5530JD] for $15,000.00, dated 08.31.2018                                                           NAC_00000540
  534     Invoice #7321119 re: [5530JD] for $15,000.00, dated 09.01.2018                                                           NAC_00000542
  535     Invoice #7321122 re: [5530JD] for $30,000.00, dated 11.01.2018                                                           NAC_00000544
  536     Invoice #79466 re: [MCG] for $30,000.00, dated 10.12.2018                                                                NAC_00000545
  537     Invoice #79487 re: [MCG] for $10,000.00, dated 10.30.2018                                                                NAC_00000546
  538     Invoice #79488 re: [MCG] for $30,000.00, dated 11.30.2018                                                                NAC_00000547
  539     Invoice #79489 re: [MCG] for $30,000.00, dated 11.30.2018                                                                NAC_00000548
  540     Invoice #79490 re: [MCG] for $25,000.00, dated 12.11.2018                                                                NAC_00000549
  541     Invoice #6516 re: [PM] for $21,250.00, due 12.07.2018                                                                    NAC_00000550
  542     Invoice #6910 re: [PM] for $20,250.00, dated 03.18.2019                                                                  NAC_00000554
  543     Invoice #6976 re: [PM] for $38,000.00, dated 03.28.2019                                                                  NAC_00000555
  544     Invoice #7004 re: [PM] for $11,250.00, dated 04.03.2019                                                                  NAC_00000556
  545     Invoice #7101 re: [PM] for $37,500.00, dated 04.08.2019                                                                  NAC_00000557
  546     Invoice #7201 re: [PM] for $40,000.00, dated 05.13.2019                                                                  NAC_00000558
  547     Invoice #7263 re: [PM] for $10,100.00, dated 05.30.2019                                                                  NAC_00000559
  548     Invoice #7312 re: [PM] for $9,500.00, dated 06.14.2019                                                                   NAC_00000560
  549     Invoice #6670 re: [PM] for $23,350.00, dated 01.11.2019                                                                  NAC_00000969
  550     Invoice #6712 re: [PM] for $27,562.50, dated 01.18.2019                                                                  NAC_00000970
  551     Invoice #6714 re: [PM] for $21,000.00, dated 01.23.2019                                                                  NAC_00000971
  552     Invoice #6804 re: [PM] for $37,800.00, dated 03.04.2019                                                                  NAC_00000972
  553     Invoice #6881 re: [PM] for $31,500.00, dated 03.14.2019                                                                  NAC_00000973
  554     Invoice #7156 re: [PM] for $75,000.00, dated 04.29.2019                                                                  NAC_00000974
  555     Invoice #7158 re: [PM] for $19,890.00, dated 04.29.2019                                                                  NAC_00000975
  556     Invoice #7322 re: [PM] for $30,000.00, dated 06.27.2019                                                                  NAC_00000976
  557     Signature Bank ACH Transaction re $20,250.00 to [PM]., dated 03.18.2019                                                  NAC_00000308                       SIG_00006978
558-599   INTENTIONALLY LEFT BLANK
  600     James Log
  601     Communication in Furtherance of Conspiracy Described in James Log Entry #1                                                                                  SW_FIL_00008530- SW_FIL_000008531


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Exhibit                                                                   Brief Description                                    BEG Bates #      END Bates #                 902 Declaration
 602      Communication in Furtherance of Conspiracy Described in James Log Entry # 2                                                                          SW_FIL_00008530- SW_FIL_000008531
 603      Communication in Furtherance of Conspiracy Described in James Log Entry # 3                                       NAC_E_00126374
 604      Communication in Furtherance of Conspiracy Described in James Log Entry # 4                                                                          SW_FIL_00008530- SW_FIL_000008531
 605      Communication in Furtherance of Conspiracy Described in James Log Entry # 5                                                                          SW_FIL_00008530- SW_FIL_000008531
 606      Communication in Furtherance of Conspiracy Described in James Log Entry # 6                                                                          SW_FIL_00008530- SW_FIL_000008531
 607      Communication in Furtherance of Conspiracy Described in James Log Entry # 7                                       NAC_E_00166092   NAC_E_00166094
 608      Communication in Furtherance of Conspiracy Described in James Log Entry # 8                                                                          SW_FIL_00008530- SW_FIL_000008531
 609      Communication in Furtherance of Conspiracy Described in James Log Entry # 9                                                                          SW_FIL_00008530- SW_FIL_000008531
 610      Communication in Furtherance of Conspiracy Described in James Log Entry # 10                                                                         SW_FIL_00008530- SW_FIL_000008531
 611      Communication in Furtherance of Conspiracy Described in James Log Entry # 11                                      NAC_E_00058715   NAC_E_00058716
 612      Communication in Furtherance of Conspiracy Described in James Log Entry # 12                                                                         SW_FIL_00000094 - SW_FIL_00000099
 613      Communication in Furtherance of Conspiracy Described in James Log Entry # 13                                                                         SW_FIL_00008530- SW_FIL_000008531
 614      Communication in Furtherance of Conspiracy Described in James Log Entry # 14                                                                         SW_FIL_00008530- SW_FIL_000008531
 615      Communication in Furtherance of Conspiracy Described in James Log Entry # 15                                                                         SW_FIL_00000094 - SW_FIL_00000099
 616      Communication in Furtherance of Conspiracy Described in James Log Entry # 16                                      NAC_E_00109823
 617      Communication in Furtherance of Conspiracy Described in James Log Entry # 17                                                                         SW_FIL_00008530- SW_FIL_000008531
 618      Communication in Furtherance of Conspiracy Described in James Log Entry # 18                                      NAC_E_00055741   NAC_E_00055743
 619      Communication in Furtherance of Conspiracy Described in James Log Entry # 19                                                                         SW_FIL_00008530- SW_FIL_000008531
 620      Communication in Furtherance of Conspiracy Described in James Log Entry # 20                                                                         SW_FIL_00008530- SW_FIL_000008531
 621      Communication in Furtherance of Conspiracy Described in James Log Entry # 21                                                                         SW_FIL_00008530- SW_FIL_000008531
 622      Communication in Furtherance of Conspiracy Described in James Log Entry # 22                                                                         SW_FIL_00008530- SW_FIL_000008531
 623      Communication in Furtherance of Conspiracy Described in James Log Entry # 23                                                                         SW_FIL_00008530- SW_FIL_000008531
 624      Communication in Furtherance of Conspiracy Described in James Log Entry # 24                                      NAC_E_00061838
 625      Communication in Furtherance of Conspiracy Described in James Log Entry # 25                                                                         SW_FIL_00008530- SW_FIL_000008531
 626      Communication in Furtherance of Conspiracy Described in James Log Entry # 26                                      NAC_E_00071125   NAC_E_00071126
 627      Communication in Furtherance of Conspiracy Described in James Log Entry # 27                                      NAC_E_00071128   NAC_E_00071129
 628      Communication in Furtherance of Conspiracy Described in James Log Entry # 28                                                                         SW_FIL_00008530- SW_FIL_000008531
 629      Communication in Furtherance of Conspiracy Described in James Log Entry # 29                                                                         SW_FIL_00000094 - SW_FIL_00000099
 630      Communication in Furtherance of Conspiracy Described in James Log Entry # 30                                      NAC_E_00148117   NAC_E_00148121
 631      Communication in Furtherance of Conspiracy Described in James Log Entry # 31                                      NAC_E_00145994   NAC_E_00145997
 632      Communication in Furtherance of Conspiracy Described in James Log Entry # 32                                      NAC_E_00071892   NAC_E_00071893
 633      Communication in Furtherance of Conspiracy Described in James Log Entry # 33                                                                         SW_FIL_00008530- SW_FIL_000008531
 634      Communication in Furtherance of Conspiracy Described in James Log Entry # 34                                                                         SW_FIL_00008530- SW_FIL_000008531
 635      Communication in Furtherance of Conspiracy Described in James Log Entry # 35                                                                         SW_FIL_00008530- SW_FIL_000008531
 636      Communication in Furtherance of Conspiracy Described in James Log Entry # 36                                                                         SW_FIL_00008530- SW_FIL_000008531
 637      Communication in Furtherance of Conspiracy Described in James Log Entry # 37                                                                         SW_FIL_00008530- SW_FIL_000008531
 638      Communication in Furtherance of Conspiracy Described in James Log Entry # 38                                                                         SW_FIL_00000094 - SW_FIL_00000099
 639      Communication in Furtherance of Conspiracy Described in James Log Entry # 39                                                                         SW_FIL_00008530- SW_FIL_000008531
 640      Communication in Furtherance of Conspiracy Described in James Log Entry # 40                                                                         SW_FIL_00008530- SW_FIL_000008531
 641      Communication in Furtherance of Conspiracy Described in James Log Entry # 41                                      NAC_E_00054599
 642      Communication in Furtherance of Conspiracy Described in James Log Entry # 42                                                                         SW_FIL_00000094 - SW_FIL_00000099
 643      Communication in Furtherance of Conspiracy Described in James Log Entry # 43                                      NAC_E_00060696   NAC_E_00060698
 644      Communication in Furtherance of Conspiracy Described in James Log Entry # 44                                      NAC_E_00071134   NAC_E_00071135
 645      Communication in Furtherance of Conspiracy Described in James Log Entry # 45                                                                         SW_FIL_00008530- SW_FIL_000008531
 646      Communication in Furtherance of Conspiracy Described in James Log Entry # 46                                                                         SW_FIL_00008530- SW_FIL_000008531
 647      Communication in Furtherance of Conspiracy Described in James Log Entry # 47                                                                         SW_FIL_00011401 - SW_FIL_00011407
 648      Communication in Furtherance of Conspiracy Described in James Log Entry # 48                                                                         SW_FIL_00008530- SW_FIL_000008531
 649      Communication in Furtherance of Conspiracy Described in James Log Entry # 49                                                                         SW_FIL_00011401 - SW_FIL_00011407
 650      Communication in Furtherance of Conspiracy Described in James Log Entry # 50                                                                         SW_FIL_00008530- SW_FIL_000008531
 651      Communication in Furtherance of Conspiracy Described in James Log Entry # 51                                                                         SW_FIL_00008530- SW_FIL_000008531
 652      Communication in Furtherance of Conspiracy Described in James Log Entry # 52                                                                         SW_FIL_00008530- SW_FIL_000008531
 653      Communication in Furtherance of Conspiracy Described in James Log Entry # 53                                      NAC_E_00054599   NAC_E_00054601
 654      Communication in Furtherance of Conspiracy Described in James Log Entry # 54                                                                         VCORP_0000001
 655      Communication in Furtherance of Conspiracy Described in James Log Entry # 55                                                                         VCORP_0000001
 656      Communication in Furtherance of Conspiracy Described in James Log Entry # 56                                                                         SW_FIL_00008530- SW_FIL_000008531
 657      Communication in Furtherance of Conspiracy Described in James Log Entry # 57                                      NAC_E_00067968   NAC_E_00067970
 658      Communication in Furtherance of Conspiracy Described in James Log Entry # 58                                                                         SW_FIL_00000094-SW_FIL_00000099
 659      Communication in Furtherance of Conspiracy Described in James Log Entry # 59                                                                         SW_FIL_00008530- SW_FIL_000008531
 660      Communication in Furtherance of Conspiracy Described in James Log Entry # 60                                                                         SW_FIL_00008530- SW_FIL_000008531
 661      Communication in Furtherance of Conspiracy Described in James Log Entry # 61                                                                         SW_FIL_00008530- SW_FIL_000008531


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Exhibit                                                                   Brief Description                                    BEG Bates #      END Bates #                 902 Declaration
 662      Communication in Furtherance of Conspiracy Described in James Log Entry # 62                                                                         SW_FIL_00008530- SW_FIL_000008531
 663      Communication in Furtherance of Conspiracy Described in James Log Entry # 63                                                                         SW_FIL_00008530- SW_FIL_000008531
 664      Communication in Furtherance of Conspiracy Described in James Log Entry # 64                                                                         SW_FIL_00008530- SW_FIL_000008531
 665      Communication in Furtherance of Conspiracy Described in James Log Entry # 65                                                                         SW_FIL_00008530- SW_FIL_000008531
 666      Communication in Furtherance of Conspiracy Described in James Log Entry # 66                                                                         SW_FIL_00000094-SW_FIL_00000099
 667      Communication in Furtherance of Conspiracy Described in James Log Entry # 67                                                                         SW_FIL_00000094-SW_FIL_00000099
 668      Communication in Furtherance of Conspiracy Described in James Log Entry # 68                                                                         SW_FIL_00008530- SW_FIL_000008531
 669      Communication in Furtherance of Conspiracy Described in James Log Entry # 69                                                                         SW_FIL_00008530- SW_FIL_000008531
 670      Communication in Furtherance of Conspiracy Described in James Log Entry # 70                                                                         SW_FIL_00008530- SW_FIL_000008531
 671      Communication in Furtherance of Conspiracy Described in James Log Entry # 71                                                                         SW_FIL_00008530- SW_FIL_000008531
 672      Communication in Furtherance of Conspiracy Described in James Log Entry # 72                                                                         SW_FIL_00008530- SW_FIL_000008531
 673      Communication in Furtherance of Conspiracy Described in James Log Entry # 73                                                                         SW_FIL_00008530- SW_FIL_000008531
 674      Communication in Furtherance of Conspiracy Described in James Log Entry # 74                                                                         SW_FIL_00000094-SW_FIL_00000099
 675      Communication in Furtherance of Conspiracy Described in James Log Entry # 75                                                                         SW_FIL_00000094-SW_FIL_00000099
 676      Communication in Furtherance of Conspiracy Described in James Log Entry # 76                                                                         SW_FIL_00008530- SW_FIL_000008531
 677      Communication in Furtherance of Conspiracy Described in James Log Entry # 77                                      NAC_E_00059950   NAC_E_00059951
 678      Communication in Furtherance of Conspiracy Described in James Log Entry # 78                                                                         SW_FIL_00008530- SW_FIL_000008531
 679      Communication in Furtherance of Conspiracy Described in James Log Entry # 79                                                                         SW_FIL_00008530- SW_FIL_000008531
 680      Communication in Furtherance of Conspiracy Described in James Log Entry # 80                                                                         SW_FIL_00011402 - SW_FIL_00011407
 681      Communication in Furtherance of Conspiracy Described in James Log Entry # 81                                                                         SW_FIL_00008530- SW_FIL_000008531
 682      Communication in Furtherance of Conspiracy Described in James Log Entry # 82                                                                         SW_FIL_00008530- SW_FIL_000008531
 683      Communication in Furtherance of Conspiracy Described in James Log Entry # 83                                      NAC_E_00059600   NAC_E_00059602
 684      Communication in Furtherance of Conspiracy Described in James Log Entry # 84                                                                         SW_FIL_00008530- SW_FIL_000008531
 685      Communication in Furtherance of Conspiracy Described in James Log Entry # 85                                                                         SW_FIL_00008530- SW_FIL_000008531
 686      Communication in Furtherance of Conspiracy Described in James Log Entry # 86                                                                         SW_FIL_00011557 - SW_FIL_00011561
 687      Communication in Furtherance of Conspiracy Described in James Log Entry # 87                                                                         SW_FIL_00008530- SW_FIL_000008531
 688      Communication in Furtherance of Conspiracy Described in James Log Entry # 88                                                                         SW_FIL_00011557 - SW_FIL_00011561
 689      Communication in Furtherance of Conspiracy Described in James Log Entry # 89                                                                         SW_FIL_00008530- SW_FIL_000008531
 690      Communication in Furtherance of Conspiracy Described in James Log Entry # 90                                                                         SW_FIL_00008530- SW_FIL_000008531
 691      Communication in Furtherance of Conspiracy Described in James Log Entry # 91
 692      Communication in Furtherance of Conspiracy Described in James Log Entry # 92                                                                         SW_FIL_00011402 - SW_FIL_00011407
 693      Communication in Furtherance of Conspiracy Described in James Log Entry # 93                                                                         SW_FIL_00008530- SW_FIL_000008531
 694      Communication in Furtherance of Conspiracy Described in James Log Entry # 94                                                                         SW_FIL_00011402 - SW_FIL_00011407
 695      Communication in Furtherance of Conspiracy Described in James Log Entry # 95                                                                         SW_FIL_00008530- SW_FIL_000008531
 696      Communication in Furtherance of Conspiracy Described in James Log Entry # 96                                                                         SW_FIL_00008530- SW_FIL_000008531
 697      Communication in Furtherance of Conspiracy Described in James Log Entry # 97                                                                         SW_FIL_00008530- SW_FIL_000008531
 698      Communication in Furtherance of Conspiracy Described in James Log Entry # 98                                                                         SW_FIL_00008530- SW_FIL_000008531
 699      Communication in Furtherance of Conspiracy Described in James Log Entry # 99                                                                         SW_FIL_00008530- SW_FIL_000008531
 700      Communication in Furtherance of Conspiracy Described in James Log Entry # 100                                     NAC_E_00060445   NAC_E_00060446
 701      Communication in Furtherance of Conspiracy Described in James Log Entry # 101                                                                        SW_FIL_00008530- SW_FIL_000008531
 702      Communication in Furtherance of Conspiracy Described in James Log Entry # 102                                                                        SW_FIL_00008530- SW_FIL_000008531
 703      Communication in Furtherance of Conspiracy Described in James Log Entry # 103                                                                        SW_FIL_000011557 - SW_FIL_00011561
 704      Communication in Furtherance of Conspiracy Described in James Log Entry # 104                                                                        SW_FIL_00008530- SW_FIL_000008531
 705      Communication in Furtherance of Conspiracy Described in James Log Entry # 105                                                                        SW_FIL_00008530- SW_FIL_000008531
 706      Communication in Furtherance of Conspiracy Described in James Log Entry # 106                                                                        SW_FIL_00011557 - SW_FIL_00011561
 707      Communication in Furtherance of Conspiracy Described in James Log Entry # 107                                                                        SW_FIL_00008530- SW_FIL_000008531
 708      Communication in Furtherance of Conspiracy Described in James Log Entry # 108                                                                        SW_FIL_00008530- SW_FIL_000008531
 709      Communication in Furtherance of Conspiracy Described in James Log Entry # 109                                     NAC_E_00052312   NAC_E_00052313
 710      Communication in Furtherance of Conspiracy Described in James Log Entry # 110                                                                        SW_FIL_00008530- SW_FIL_000008531
 711      Communication in Furtherance of Conspiracy Described in James Log Entry # 111                                                                        SW_FIL_00011557 - SW_FIL_00011561
 712      Communication in Furtherance of Conspiracy Described in James Log Entry # 112                                                                        SW_FIL_00008530- SW_FIL_000008531
 713      Communication in Furtherance of Conspiracy Described in James Log Entry # 113                                     NAC_E_00077284   NAC_E_00077285
 714      Communication in Furtherance of Conspiracy Described in James Log Entry # 114                                     NAC_E_00054104   NAC_E_00054105
 715      Communication in Furtherance of Conspiracy Described in James Log Entry # 115                                                                        SW_FIL_00008530- SW_FIL_000008531
 716      Communication in Furtherance of Conspiracy Described in James Log Entry # 116                                     NAC_E_00053144   NAC_E_00053145
 717      Communication in Furtherance of Conspiracy Described in James Log Entry # 117                                                                        SW_FIL_00008530- SW_FIL_000008531
 718      Communication in Furtherance of Conspiracy Described in James Log Entry # 118                                                                        SW_FIL_00008530- SW_FIL_000008531
 719      Communication in Furtherance of Conspiracy Described in James Log Entry # 119                                                                        SW_FIL_00011557 - SW_FIL_00011561
 720      Communication in Furtherance of Conspiracy Described in James Log Entry # 120                                     NAC_E_00063470   NAC_E_00063471
 721      Communication in Furtherance of Conspiracy Described in James Log Entry # 121                                                                        SW_FIL_00008530- SW_FIL_000008531


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Exhibit                                                                   Brief Description                                    BEG Bates #      END Bates #                 902 Declaration
 722      Communication in Furtherance of Conspiracy Described in James Log Entry # 122                                                                        SW_FIL_00008530- SW_FIL_000008531
 723      Communication in Furtherance of Conspiracy Described in James Log Entry # 123                                                                        SW_FIL_00011557 - SW_FIL_00011561
 724      Communication in Furtherance of Conspiracy Described in James Log Entry # 124                                                                        SW_FIL_00008530- SW_FIL_000008531
 725      Communication in Furtherance of Conspiracy Described in James Log Entry # 125                                     NAC_E_00054190   NAC_E_00054191
 726      Communication in Furtherance of Conspiracy Described in James Log Entry # 126                                                                        SW_FIL_00008530- SW_FIL_000008531
 727      Communication in Furtherance of Conspiracy Described in James Log Entry # 127                                                                        SW_FIL_00011557 - SW_FIL_00011561
 728      Communication in Furtherance of Conspiracy Described in James Log Entry # 128                                     NAC_E_00062777   NAC_E_00062778
 729      Communication in Furtherance of Conspiracy Described in James Log Entry # 129                                                                        SW_FIL_00008530- SW_FIL_000008531
 730      Communication in Furtherance of Conspiracy Described in James Log Entry # 130                                                                        SW_FIL_00008530- SW_FIL_000008531
 731      Communication in Furtherance of Conspiracy Described in James Log Entry # 131                                                                        SW_FIL_00008530- SW_FIL_000008531
 732      Communication in Furtherance of Conspiracy Described in James Log Entry # 132                                                                        SW_FIL_00011557 - SW_FIL_00011561
 733      Communication in Furtherance of Conspiracy Described in James Log Entry # 133                                     NAC_E_00064898   NAC_E_00064899
 734      Communication in Furtherance of Conspiracy Described in James Log Entry # 134                                                                        SW_FIL_00008530- SW_FIL_000008531
 735      Communication in Furtherance of Conspiracy Described in James Log Entry # 135                                                                        SW_FIL_00008530- SW_FIL_000008531
 736      Communication in Furtherance of Conspiracy Described in James Log Entry # 136                                                                        SW_FIL_00008530- SW_FIL_000008531
 737      Communication in Furtherance of Conspiracy Described in James Log Entry # 137                                                                        SW_FIL_00011557 - SW_FIL_00011561
 738      Communication in Furtherance of Conspiracy Described in James Log Entry # 138                                                                        SW_FIL_00008530- SW_FIL_000008531
 739      Communication in Furtherance of Conspiracy Described in James Log Entry # 139                                                                        SW_FIL_00008530- SW_FIL_000008531
 740      Communication in Furtherance of Conspiracy Described in James Log Entry # 140                                                                        SW_FIL_00008530- SW_FIL_000008531
 741      Communication in Furtherance of Conspiracy Described in James Log Entry # 141                                                                        SW_FIL_00008530- SW_FIL_000008531
 742      Communication in Furtherance of Conspiracy Described in James Log Entry # 142                                                                        SW_FIL_00011557 - SW_FIL_00011561
 743      Communication in Furtherance of Conspiracy Described in James Log Entry # 143                                     NAC_E_00065792   NAC_E_00065793
 744      Communication in Furtherance of Conspiracy Described in James Log Entry # 144                                                                        SW_FIL_00008530- SW_FIL_000008531
 745      Communication in Furtherance of Conspiracy Described in James Log Entry # 145                                                                        SW_FIL_00008530- SW_FIL_000008531
 746      Communication in Furtherance of Conspiracy Described in James Log Entry # 146                                                                        SW_FIL_00008530- SW_FIL_000008531
 747      Communication in Furtherance of Conspiracy Described in James Log Entry # 147                                                                        SW_FIL_00008530- SW_FIL_000008531
 748      Communication in Furtherance of Conspiracy Described in James Log Entry # 148                                                                        SW_FIL_00011557 - SW_FIL_00011561
 749      Communication in Furtherance of Conspiracy Described in James Log Entry # 149                                                                        SW_FIL_00011557 - SW_FIL_00011561
 750      Communication in Furtherance of Conspiracy Described in James Log Entry # 150                                                                        SW_FIL_00008530- SW_FIL_000008531
 751      Communication in Furtherance of Conspiracy Described in James Log Entry # 151                                                                        SW_FIL_00008530- SW_FIL_000008531
 752      Communication in Furtherance of Conspiracy Described in James Log Entry # 152                                                                        SW_FIL_00008530- SW_FIL_000008531
 753      Communication in Furtherance of Conspiracy Described in James Log Entry # 153                                                                        SW_FIL_00008530- SW_FIL_000008531
 754      Communication in Furtherance of Conspiracy Described in James Log Entry # 154                                                                        SW_FIL_00008530- SW_FIL_000008531
 755      Communication in Furtherance of Conspiracy Described in James Log Entry # 155                                                                        SW_FIL_00008530- SW_FIL_000008531
 756      Communication in Furtherance of Conspiracy Described in James Log Entry # 156                                                                        SW_FIL_00008530- SW_FIL_000008531
 757      Communication in Furtherance of Conspiracy Described in James Log Entry # 157                                                                        SW_FIL_00008530- SW_FIL_000008531
 758      Communication in Furtherance of Conspiracy Described in James Log Entry # 158                                                                        SW_FIL_00008530- SW_FIL_000008531
 759      Communication in Furtherance of Conspiracy Described in James Log Entry # 159                                                                        SW_FIL_00008530- SW_FIL_000008531
 760      Communication in Furtherance of Conspiracy Described in James Log Entry # 160                                                                        SW_FIL_00008530- SW_FIL_000008531
 761      Communication in Furtherance of Conspiracy Described in James Log Entry # 161                                                                        SW_FIL_00008530- SW_FIL_000008531
 762      Communication in Furtherance of Conspiracy Described in James Log Entry # 162                                                                        SW_FIL_00008530- SW_FIL_000008531
 763      Communication in Furtherance of Conspiracy Described in James Log Entry # 163                                                                        SW_FIL_00008530- SW_FIL_000008531
 764      Communication in Furtherance of Conspiracy Described in James Log Entry # 164                                                                        SW_FIL_00011557 - SW_FIL_00011561
 765      Communication in Furtherance of Conspiracy Described in James Log Entry # 165                                     NAC_E_00064830   NAC_E_00064832
 766      Communication in Furtherance of Conspiracy Described in James Log Entry # 166                                                                        SW_FIL_00008530- SW_FIL_000008531
 767      Communication in Furtherance of Conspiracy Described in James Log Entry # 167                                                                        SW_FIL_00008530- SW_FIL_000008531
 768      Communication in Furtherance of Conspiracy Described in James Log Entry # 168                                                                        SW_FIL_00008530- SW_FIL_000008531
 769      Communication in Furtherance of Conspiracy Described in James Log Entry # 169                                                                        SW_FIL_00008530- SW_FIL_000008531
 770      Communication in Furtherance of Conspiracy Described in James Log Entry # 170                                                                        SW_FIL_00008530- SW_FIL_000008531
 771      Communication in Furtherance of Conspiracy Described in James Log Entry # 171                                                                        SW_FIL_00008530- SW_FIL_000008531
 772      Communication in Furtherance of Conspiracy Described in James Log Entry # 172                                                                        SW_FIL_00008530- SW_FIL_000008531
 773      Communication in Furtherance of Conspiracy Described in James Log Entry # 173                                                                        SW_FIL_00008530- SW_FIL_000008531
 774      Communication in Furtherance of Conspiracy Described in James Log Entry # 174                                                                        SW_FIL_00008530- SW_FIL_000008531
 775      Communication in Furtherance of Conspiracy Described in James Log Entry # 175                                                                        SW_FIL_00008530- SW_FIL_000008531
 776      Communication in Furtherance of Conspiracy Described in James Log Entry # 176                                                                        SW_FIL_00008530- SW_FIL_000008531
 777      Communication in Furtherance of Conspiracy Described in James Log Entry # 177                                                                        SW_FIL_00008530- SW_FIL_000008531
 778      Communication in Furtherance of Conspiracy Described in James Log Entry # 178                                                                        SW_FIL_00008530- SW_FIL_000008531
 779      Communication in Furtherance of Conspiracy Described in James Log Entry # 179                                                                        SW_FIL_00008530- SW_FIL_000008531
 780      Communication in Furtherance of Conspiracy Described in James Log Entry # 180                                                                        SW_FIL_00008530- SW_FIL_000008531
 781      Communication in Furtherance of Conspiracy Described in James Log Entry # 181                                                                        SW_FIL_00008530- SW_FIL_000008531


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Exhibit                                                                   Brief Description                                    BEG Bates #      END Bates #                 902 Declaration
 782      Communication in Furtherance of Conspiracy Described in James Log Entry # 182                                                                        SW_FIL_00008530- SW_FIL_000008531
 783      Communication in Furtherance of Conspiracy Described in James Log Entry # 183                                     NAC_E_00066239   NAC_E_00066246
 784      Communication in Furtherance of Conspiracy Described in James Log Entry # 184                                                                        SW_FIL_00008530- SW_FIL_000008531
 785      Communication in Furtherance of Conspiracy Described in James Log Entry # 185                                                                        SW_FIL_00008530- SW_FIL_000008531
 786      Communication in Furtherance of Conspiracy Described in James Log Entry # 186                                                                        SW_FIL_00008530- SW_FIL_000008531
 787      Communication in Furtherance of Conspiracy Described in James Log Entry # 187                                                                        SW_FIL_00008530- SW_FIL_000008531
 788      Communication in Furtherance of Conspiracy Described in James Log Entry # 188                                                                        SW_FIL_00008530- SW_FIL_000008531
 789      Communication in Furtherance of Conspiracy Described in James Log Entry # 189                                                                        SW_FIL_00008530- SW_FIL_000008531
 790      Communication in Furtherance of Conspiracy Described in James Log Entry # 190                                                                        SW_FIL_00008530- SW_FIL_000008531
 791      Communication in Furtherance of Conspiracy Described in James Log Entry # 191                                                                        SW_FIL_00008530- SW_FIL_000008531
 792      Communication in Furtherance of Conspiracy Described in James Log Entry # 192                                                                        SW_FIL_00008530- SW_FIL_000008531
 793      Communication in Furtherance of Conspiracy Described in James Log Entry # 193                                                                        SW_FIL_00008530- SW_FIL_000008531
 794      Communication in Furtherance of Conspiracy Described in James Log Entry # 194                                                                        SW_FIL_00008530- SW_FIL_000008531
 795      Communication in Furtherance of Conspiracy Described in James Log Entry # 195                                                                        SW_FIL_00008530- SW_FIL_000008531
 796      Communication in Furtherance of Conspiracy Described in James Log Entry # 196                                                                        SW_FIL_00008530- SW_FIL_000008531
 797      Communication in Furtherance of Conspiracy Described in James Log Entry # 197                                                                        SW_FIL_00008530- SW_FIL_000008531
 798      Communication in Furtherance of Conspiracy Described in James Log Entry # 198                                                                        SW_FIL_00008530- SW_FIL_000008531
 799      Communication in Furtherance of Conspiracy Described in James Log Entry # 199                                                                        VCORP_00000001
 800      Communication in Furtherance of Conspiracy Described in James Log Entry # 200                                                                        SW_FIL_00008530- SW_FIL_000008531
 801      Communication in Furtherance of Conspiracy Described in James Log Entry # 201                                                                        SW_FIL_00011557 - SW_FIL_00011561
 802      Communication in Furtherance of Conspiracy Described in James Log Entry # 202                                                                        SW_FIL_00008530- SW_FIL_000008531
 803      Communication in Furtherance of Conspiracy Described in James Log Entry # 203                                                                        SW_FIL_00008530- SW_FIL_000008531
 804      Communication in Furtherance of Conspiracy Described in James Log Entry # 204                                                                        SW_FIL_00008530- SW_FIL_000008531
 805      Communication in Furtherance of Conspiracy Described in James Log Entry # 205                                                                        SW_FIL_00008530- SW_FIL_000008531
 806      Communication in Furtherance of Conspiracy Described in James Log Entry # 206                                                                        SW_FIL_00008530- SW_FIL_000008531
 807      Communication in Furtherance of Conspiracy Described in James Log Entry # 207                                                                        VCORP_00000001
 808      Communication in Furtherance of Conspiracy Described in James Log Entry # 208                                                                        VCORP_00000001
 809      Communication in Furtherance of Conspiracy Described in James Log Entry # 209                                                                        SW_FIL_00008530- SW_FIL_000008531
 810      Communication in Furtherance of Conspiracy Described in James Log Entry # 210                                                                        SW_FIL_00008530- SW_FIL_000008531
 811      Communication in Furtherance of Conspiracy Described in James Log Entry # 211                                                                        SW_FIL_00008530- SW_FIL_000008531
 812      Communication in Furtherance of Conspiracy Described in James Log Entry # 212                                                                        SW_FIL_00008530- SW_FIL_000008531
 813      Communication in Furtherance of Conspiracy Described in James Log Entry # 213                                                                        SW_FIL_00008530- SW_FIL_000008531
 814      Communication in Furtherance of Conspiracy Described in James Log Entry # 214                                                                        SW_FIL_00008530- SW_FIL_000008531
 815      Communication in Furtherance of Conspiracy Described in James Log Entry # 215                                                                        SW_FIL_00008530- SW_FIL_000008531
 816      Communication in Furtherance of Conspiracy Described in James Log Entry # 216                                                                        SW_FIL_00008530- SW_FIL_000008531
 817      Communication in Furtherance of Conspiracy Described in James Log Entry # 217                                                                        SW_FIL_00008530- SW_FIL_000008531
 818      Communication in Furtherance of Conspiracy Described in James Log Entry # 218                                                                        SW_FIL_00008530- SW_FIL_000008531
 819      Communication in Furtherance of Conspiracy Described in James Log Entry # 219                                                                        SW_FIL_00008530- SW_FIL_000008531
 820      Communication in Furtherance of Conspiracy Described in James Log Entry # 220                                                                        SW_FIL_00008530- SW_FIL_000008531
 821      Communication in Furtherance of Conspiracy Described in James Log Entry # 221                                                                        SW_FIL_00008530- SW_FIL_000008531
 822      Communication in Furtherance of Conspiracy Described in James Log Entry # 222                                                                        SW_FIL_00008530- SW_FIL_000008531
 823      Communication in Furtherance of Conspiracy Described in James Log Entry # 223                                                                        SW_FIL_00008530- SW_FIL_000008531
 824      Communication in Furtherance of Conspiracy Described in James Log Entry # 224                                                                        SW_FIL_00008530- SW_FIL_000008531
 825      Communication in Furtherance of Conspiracy Described in James Log Entry # 225                                                                        SW_FIL_00008530- SW_FIL_000008531
 826      Communication in Furtherance of Conspiracy Described in James Log Entry # 226                                                                        SW_FIL_00008530- SW_FIL_000008531
 827      Communication in Furtherance of Conspiracy Described in James Log Entry # 227                                                                        SW_FIL_00008530- SW_FIL_000008531
 828      Communication in Furtherance of Conspiracy Described in James Log Entry # 228                                                                        SW_FIL_00008530- SW_FIL_000008531
 829      Communication in Furtherance of Conspiracy Described in James Log Entry # 229                                                                        SW_FIL_00008530- SW_FIL_000008531
 830      Communication in Furtherance of Conspiracy Described in James Log Entry # 230                                                                        SW_FIL_00008530- SW_FIL_000008531
 831      Communication in Furtherance of Conspiracy Described in James Log Entry # 231                                                                        SW_FIL_00008530- SW_FIL_000008531
 832      Communication in Furtherance of Conspiracy Described in James Log Entry # 232                                                                        SW_FIL_00008530- SW_FIL_000008531
 833      Communication in Furtherance of Conspiracy Described in James Log Entry # 233                                                                        SW_FIL_00008530- SW_FIL_000008531
 834      Communication in Furtherance of Conspiracy Described in James Log Entry # 234                                                                        SW_FIL_00008530- SW_FIL_000008531
 835      Communication in Furtherance of Conspiracy Described in James Log Entry # 235                                                                        SW_FIL_00008530- SW_FIL_000008531
 836      Communication in Furtherance of Conspiracy Described in James Log Entry # 236                                                                        SW_FIL_00008530- SW_FIL_000008531
 837      Communication in Furtherance of Conspiracy Described in James Log Entry # 237                                                                        SW_FIL_00008530- SW_FIL_000008531
 838      Communication in Furtherance of Conspiracy Described in James Log Entry # 238                                                                        SW_FIL_00008530- SW_FIL_000008531
 839      Communication in Furtherance of Conspiracy Described in James Log Entry # 239                                                                        SW_FIL_00008530- SW_FIL_000008531
 840      Communication in Furtherance of Conspiracy Described in James Log Entry # 240                                                                        SW_FIL_00008530- SW_FIL_000008531
 841      Communication in Furtherance of Conspiracy Described in James Log Entry # 241                                     NAC_E_00145793   NAC_E_00145797


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Exhibit                                                                   Brief Description                                    BEG Bates #      END Bates #                 902 Declaration
 842      Communication in Furtherance of Conspiracy Described in James Log Entry # 242                                                                        SW_FIL_00008530- SW_FIL_000008531
 843      Communication in Furtherance of Conspiracy Described in James Log Entry # 243                                     NAC_E_00070403
 844      Communication in Furtherance of Conspiracy Described in James Log Entry # 244                                     NAC_E_00133833   NAC_E_00133834
 845      Communication in Furtherance of Conspiracy Described in James Log Entry # 245                                     NAC_E_00145920   NAC_E_00145923
 846      Communication in Furtherance of Conspiracy Described in James Log Entry # 246                                                                        SW_FIL_00008530- SW_FIL_000008531
 847      Communication in Furtherance of Conspiracy Described in James Log Entry # 247                                                                        SW_FIL_00008530- SW_FIL_000008531
 848      Communication in Furtherance of Conspiracy Described in James Log Entry # 248                                                                        SW_FIL_00008530- SW_FIL_000008531
 849      Communication in Furtherance of Conspiracy Described in James Log Entry # 249                                                                        SW_FIL_00008530- SW_FIL_000008531
 850      Communication in Furtherance of Conspiracy Described in James Log Entry # 250                                                                        SW_FIL_00008530- SW_FIL_000008531
 851      Communication in Furtherance of Conspiracy Described in James Log Entry # 251                                                                        SW_FIL_00008530- SW_FIL_000008531
 852      Communication in Furtherance of Conspiracy Described in James Log Entry # 252                                                                        SW_FIL_00008530- SW_FIL_000008531
 853      Communication in Furtherance of Conspiracy Described in James Log Entry # 253                                                                        SW_FIL_00008530- SW_FIL_000008531
 854      Communication in Furtherance of Conspiracy Described in James Log Entry # 254                                                                        SW_FIL_00008530- SW_FIL_000008531
 855      Communication in Furtherance of Conspiracy Described in James Log Entry # 255                                                                        SW_FIL_00008530- SW_FIL_000008531
 856      Communication in Furtherance of Conspiracy Described in James Log Entry # 256                                                                        SW_FIL_00008530- SW_FIL_000008531
 857      Communication in Furtherance of Conspiracy Described in James Log Entry # 257                                                                        SW_FIL_00008530- SW_FIL_000008531
 858      Communication in Furtherance of Conspiracy Described in James Log Entry # 258                                                                        SW_FIL_00008530- SW_FIL_000008531
 859      Communication in Furtherance of Conspiracy Described in James Log Entry # 259                                                                        SW_FIL_00008530- SW_FIL_000008531
 860      Communication in Furtherance of Conspiracy Described in James Log Entry # 260                                                                        SW_FIL_00008530- SW_FIL_000008531
 861      Communication in Furtherance of Conspiracy Described in James Log Entry # 261                                                                        SW_FIL_00008530- SW_FIL_000008531
 862      Communication in Furtherance of Conspiracy Described in James Log Entry # 262                                                                        SW_FIL_00008530- SW_FIL_000008531
 863      Communication in Furtherance of Conspiracy Described in James Log Entry # 263                                                                        SW_FIL_00008530- SW_FIL_000008531
 864      Communication in Furtherance of Conspiracy Described in James Log Entry # 264                                                                        SW_FIL_00008530- SW_FIL_000008531
 865      Communication in Furtherance of Conspiracy Described in James Log Entry # 265                                                                        SW_FIL_00008530- SW_FIL_000008531
 866      Communication in Furtherance of Conspiracy Described in James Log Entry # 266                                                                        SW_FIL_00008530- SW_FIL_000008531
 867      Communication in Furtherance of Conspiracy Described in James Log Entry # 267                                                                        SW_FIL_00008530- SW_FIL_000008531
 868      Communication in Furtherance of Conspiracy Described in James Log Entry # 268                                                                        SW_FIL_00008530- SW_FIL_000008531
 869      Communication in Furtherance of Conspiracy Described in James Log Entry # 269                                                                        SW_FIL_00008530- SW_FIL_000008531
 870      Communication in Furtherance of Conspiracy Described in James Log Entry # 270                                                                        SW_FIL_00008530- SW_FIL_000008531
 871      Communication in Furtherance of Conspiracy Described in James Log Entry # 271                                                                        SW_FIL_00008530- SW_FIL_000008531
 872      Communication in Furtherance of Conspiracy Described in James Log Entry # 272                                                                        SW_FIL_00008530- SW_FIL_000008531
 873      Communication in Furtherance of Conspiracy Described in James Log Entry # 273                                                                        SW_FIL_00008530- SW_FIL_000008531
 874      Communication in Furtherance of Conspiracy Described in James Log Entry # 274                                                                        SW_FIL_00008530- SW_FIL_000008531
 875      Communication in Furtherance of Conspiracy Described in James Log Entry # 275                                     NAC_E_00147699   NAC_E_00147702
 876      Communication in Furtherance of Conspiracy Described in James Log Entry # 276                                                                        SW_FIL_00008530- SW_FIL_000008531
 877      Communication in Furtherance of Conspiracy Described in James Log Entry # 277                                                                        SW_FIL_00008530- SW_FIL_000008531
 878      Communication in Furtherance of Conspiracy Described in James Log Entry # 278                                                                        SW_FIL_00008530- SW_FIL_000008531
 879      Communication in Furtherance of Conspiracy Described in James Log Entry # 279                                                                        SW_FIL_00008530- SW_FIL_000008531
 880      Communication in Furtherance of Conspiracy Described in James Log Entry # 280                                                                        SW_FIL_00008530- SW_FIL_000008531
 881      Communication in Furtherance of Conspiracy Described in James Log Entry # 281                                                                        SW_FIL_00008530- SW_FIL_000008531
 882      Communication in Furtherance of Conspiracy Described in James Log Entry # 282                                                                        SW_FIL_00008530- SW_FIL_000008531
 883      Communication in Furtherance of Conspiracy Described in James Log Entry # 283                                                                        SW_FIL_00008530- SW_FIL_000008531
 884      Communication in Furtherance of Conspiracy Described in James Log Entry # 284                                                                        SW_FIL_00008530- SW_FIL_000008531
 885      Communication in Furtherance of Conspiracy Described in James Log Entry # 285                                                                        SW_FIL_00008530- SW_FIL_000008531
 886      Communication in Furtherance of Conspiracy Described in James Log Entry # 286                                                                        SW_FIL_00008530- SW_FIL_000008531
 887      Communication in Furtherance of Conspiracy Described in James Log Entry # 287                                     NAC_E_00151966   NAC_E_00151969
 888      Communication in Furtherance of Conspiracy Described in James Log Entry # 288                                                                        SW_FIL_00008530- SW_FIL_000008531
 889      Communication in Furtherance of Conspiracy Described in James Log Entry # 289                                                                        SW_FIL_00008530- SW_FIL_000008531
 890      Communication in Furtherance of Conspiracy Described in James Log Entry # 290                                                                        SW_FIL_00008530- SW_FIL_000008531
 891      Communication in Furtherance of Conspiracy Described in James Log Entry # 291                                                                        SW_FIL_00008530- SW_FIL_000008531
 892      Communication in Furtherance of Conspiracy Described in James Log Entry # 292                                                                        SW_FIL_00008530- SW_FIL_000008531
 893      Communication in Furtherance of Conspiracy Described in James Log Entry # 293                                                                        SW_FIL_00008530- SW_FIL_000008531
 894      Communication in Furtherance of Conspiracy Described in James Log Entry # 294                                                                        SW_FIL_00008530- SW_FIL_000008531
 895      Communication in Furtherance of Conspiracy Described in James Log Entry # 295                                                                        SW_FIL_00008530- SW_FIL_000008531
 896      Communication in Furtherance of Conspiracy Described in James Log Entry # 296                                                                        SW_FIL_00008530- SW_FIL_000008531
 897      Communication in Furtherance of Conspiracy Described in James Log Entry # 297                                                                        SW_FIL_00008530- SW_FIL_000008531
 898      Communication in Furtherance of Conspiracy Described in James Log Entry # 298                                                                        SW_FIL_00008530- SW_FIL_000008531
 899      Communication in Furtherance of Conspiracy Described in James Log Entry # 299                                                                        SW_FIL_00008530- SW_FIL_000008531
 900      Communication in Furtherance of Conspiracy Described in James Log Entry # 300                                                                        SW_FIL_00008530- SW_FIL_000008531
 901      Communication in Furtherance of Conspiracy Described in James Log Entry # 301                                                                        SW_FIL_00008530- SW_FIL_000008531


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Exhibit                                                                   Brief Description                                    BEG Bates #      END Bates #                 902 Declaration
 902      Communication in Furtherance of Conspiracy Described in James Log Entry # 302                                                                        SW_FIL_00008530- SW_FIL_000008531
 903      Communication in Furtherance of Conspiracy Described in James Log Entry # 303                                     NAC_E_00155951   NAC_E_00155954
 904      Communication in Furtherance of Conspiracy Described in James Log Entry # 304                                                                        SW_FIL_00008530- SW_FIL_000008531
 905      Communication in Furtherance of Conspiracy Described in James Log Entry # 305                                                                        SW_FIL_00008530- SW_FIL_000008531
 906      Communication in Furtherance of Conspiracy Described in James Log Entry # 306                                                                        SW_FIL_00008530- SW_FIL_000008531
 907      Communication in Furtherance of Conspiracy Described in James Log Entry # 307                                                                        SW_FIL_00008530- SW_FIL_000008531
 908      Communication in Furtherance of Conspiracy Described in James Log Entry # 308                                                                        SW_FIL_00008530- SW_FIL_000008531
 909      Communication in Furtherance of Conspiracy Described in James Log Entry # 309                                                                        SW_FIL_00008530- SW_FIL_000008531
 910      Communication in Furtherance of Conspiracy Described in James Log Entry # 310                                                                        SW_FIL_00008530- SW_FIL_000008531
 911      Communication in Furtherance of Conspiracy Described in James Log Entry # 311                                                                        SW_FIL_00008530- SW_FIL_000008531
 912      Communication in Furtherance of Conspiracy Described in James Log Entry # 312                                     NAC_E_00078873
 913      Communication in Furtherance of Conspiracy Described in James Log Entry # 313                                                                        SW_FIL_00008530- SW_FIL_000008531
 914      Communication in Furtherance of Conspiracy Described in James Log Entry # 314                                                                        SW_FIL_00008530- SW_FIL_000008531
 915      Communication in Furtherance of Conspiracy Described in James Log Entry # 315                                                                        SW_FIL_00008530- SW_FIL_000008531
 916      Communication in Furtherance of Conspiracy Described in James Log Entry # 316                                                                        SW_FIL_00008530- SW_FIL_000008531
 917      Communication in Furtherance of Conspiracy Described in James Log Entry # 317                                                                        SW_FIL_00008530- SW_FIL_000008531
 918      Communication in Furtherance of Conspiracy Described in James Log Entry # 318                                                                        SW_FIL_00008530- SW_FIL_000008531
 919      Communication in Furtherance of Conspiracy Described in James Log Entry # 319                                                                        SW_FIL_00008530- SW_FIL_000008531
 920      Communication in Furtherance of Conspiracy Described in James Log Entry # 320                                                                        SW_FIL_00008530- SW_FIL_000008531
 921      Communication in Furtherance of Conspiracy Described in James Log Entry # 321                                                                        SW_FIL_00008530- SW_FIL_000008531
 922      Communication in Furtherance of Conspiracy Described in James Log Entry # 322                                                                        SW_FIL_00008530- SW_FIL_000008531
 923      Communication in Furtherance of Conspiracy Described in James Log Entry # 323                                                                        SW_FIL_00008530- SW_FIL_000008531
 924      Communication in Furtherance of Conspiracy Described in James Log Entry # 324                                                                        SW_FIL_00008530- SW_FIL_000008531
 925      Communication in Furtherance of Conspiracy Described in James Log Entry # 325                                                                        SW_FIL_00008530- SW_FIL_000008531
 926      Communication in Furtherance of Conspiracy Described in James Log Entry # 326                                                                        SW_FIL_00008530- SW_FIL_000008531
 927      Communication in Furtherance of Conspiracy Described in James Log Entry # 327                                                                        SW_FIL_00008530- SW_FIL_000008531
 928      Communication in Furtherance of Conspiracy Described in James Log Entry # 328                                     NAC_E_00126180   NAC_E_00126182
 929      Communication in Furtherance of Conspiracy Described in James Log Entry # 329                                                                        SW_FIL_00008530- SW_FIL_000008531
 930      Communication in Furtherance of Conspiracy Described in James Log Entry # 330                                                                        SW_FIL_00008530- SW_FIL_000008531
 931      Communication in Furtherance of Conspiracy Described in James Log Entry # 331                                                                        SW_FIL_00008530- SW_FIL_000008531
 932      Communication in Furtherance of Conspiracy Described in James Log Entry # 332                                                                        SW_FIL_00008530- SW_FIL_000008531
 933      Communication in Furtherance of Conspiracy Described in James Log Entry # 333                                     NAC_E_00072302   NAC_E_00072305
 934      Communication in Furtherance of Conspiracy Described in James Log Entry # 334                                                                        SW_FIL_00008530- SW_FIL_000008531
 935      Communication in Furtherance of Conspiracy Described in James Log Entry # 335                                     NAC_E_00153750   NAC_E_00153751
 936      Communication in Furtherance of Conspiracy Described in James Log Entry # 336                                                                        SW_FIL_00008530- SW_FIL_000008531
 937      Communication in Furtherance of Conspiracy Described in James Log Entry # 337                                                                        SW_FIL_00008530- SW_FIL_000008531
 938      Communication in Furtherance of Conspiracy Described in James Log Entry # 338                                                                        SW_FIL_00008530- SW_FIL_000008531
 939      Communication in Furtherance of Conspiracy Described in James Log Entry # 339                                                                        SW_FIL_00011402 - SW_FIL_00011407
 940      Communication in Furtherance of Conspiracy Described in James Log Entry # 340                                                                        SW_FIL_00008530- SW_FIL_000008531
 941      Communication in Furtherance of Conspiracy Described in James Log Entry # 341                                                                        SW_FIL_00008530- SW_FIL_000008531
 942      Communication in Furtherance of Conspiracy Described in James Log Entry # 342                                                                        SW_FIL_00008530- SW_FIL_000008531
 943      Communication in Furtherance of Conspiracy Described in James Log Entry # 343                                                                        SW_FIL_00008530- SW_FIL_000008531
 944      Communication in Furtherance of Conspiracy Described in James Log Entry # 344                                                                        SW_FIL_00008530- SW_FIL_000008531
 945      Communication in Furtherance of Conspiracy Described in James Log Entry # 345                                                                        SW_FIL_00008530- SW_FIL_000008531
 946      Communication in Furtherance of Conspiracy Described in James Log Entry # 346                                                                        SW_FIL_00008530- SW_FIL_000008531
 947      Communication in Furtherance of Conspiracy Described in James Log Entry # 347                                                                        SW_FIL_00008530- SW_FIL_000008531
 948      Communication in Furtherance of Conspiracy Described in James Log Entry # 348                                                                        SW_FIL_00008530- SW_FIL_000008531
 949      Communication in Furtherance of Conspiracy Described in James Log Entry # 349                                                                        SW_FIL_00008530- SW_FIL_000008531
 950      Communication in Furtherance of Conspiracy Described in James Log Entry # 350                                     NAC_E_00103400   NAC_E_00103402
 951      Communication in Furtherance of Conspiracy Described in James Log Entry # 351                                                                        SW_FIL_00008530- SW_FIL_000008531
 952      Communication in Furtherance of Conspiracy Described in James Log Entry # 352                                     NAC_E_00094959   NAC_E_00094961
 953      Communication in Furtherance of Conspiracy Described in James Log Entry # 353                                     NAC_E_00113462   NAC_E_00113463
 954      Communication in Furtherance of Conspiracy Described in James Log Entry # 354                                     NAC_E_00092774   NAC_E_00092775
 955      Communication in Furtherance of Conspiracy Described in James Log Entry # 355                                     NAC_E_00105912   NAC_E_00105913
 956      Communication in Furtherance of Conspiracy Described in James Log Entry # 356                                                                        SW_FIL_00008530- SW_FIL_000008531
 957      Communication in Furtherance of Conspiracy Described in James Log Entry # 357                                                                        SW_FIL_00008530- SW_FIL_000008531
 958      Communication in Furtherance of Conspiracy Described in James Log Entry # 358                                                                        SW_FIL_00008530- SW_FIL_000008531
 959      Communication in Furtherance of Conspiracy Described in James Log Entry # 359                                     NAC_E_00107684   NAC_E_00107687
 960      Communication in Furtherance of Conspiracy Described in James Log Entry # 360                                                                        SW_FIL_00008530- SW_FIL_000008531
 961      Communication in Furtherance of Conspiracy Described in James Log Entry # 361                                                                        SW_FIL_00008530- SW_FIL_000008531


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Exhibit                                                                    Brief Description                                    BEG Bates #       END Bates #                 902 Declaration
  962      Communication in Furtherance of Conspiracy Described in James Log Entry # 362                                                                         SW_FIL_00008530- SW_FIL_000008531
  963      Communication in Furtherance of Conspiracy Described in James Log Entry # 363                                                                         SW_FIL_00008530- SW_FIL_000008531
  964      Communication in Furtherance of Conspiracy Described in James Log Entry # 364                                                                         SW_FIL_00008530- SW_FIL_000008531
  965      Communication in Furtherance of Conspiracy Described in James Log Entry # 365                                                                         SW_FIL_00008530- SW_FIL_000008531
  966      Communication in Furtherance of Conspiracy Described in James Log Entry # 366                                                                         SW_FIL_00008530- SW_FIL_000008531
  967      Communication in Furtherance of Conspiracy Described in James Log Entry # 367                                                                         SW_FIL_00008530- SW_FIL_000008531
  968      Communication in Furtherance of Conspiracy Described in James Log Entry # 368                                                                         SW_FIL_00008530- SW_FIL_000008531
  969      Communication in Furtherance of Conspiracy Described in James Log Entry # 369                                     NAC_E_00118421    NAC_E_00118424
  970      Communication in Furtherance of Conspiracy Described in James Log Entry # 370                                                                         SW_FIL_00008530- SW_FIL_000008531
  971      Communication in Furtherance of Conspiracy Described in James Log Entry # 371                                                                         SW_FIL_00008530- SW_FIL_000008531
  972      Communication in Furtherance of Conspiracy Described in James Log Entry # 372                                                                         SW_FIL_00008530- SW_FIL_000008531
  973      Communication in Furtherance of Conspiracy Described in James Log Entry # 373                                                                         SW_FIL_00008530- SW_FIL_000008531
                                                                                                                             INV_00005038;
                                                                                                                             INV_00008612      INV_00008768
  974      Communication in Furtherance of Conspiracy Described in James Log Entry # 374                                     (transcript)      (transcript)      N/A
                                                                                                                             INV_00005040;
                                                                                                                             INV_00008506      INV_00008539
  975      Communication in Furtherance of Conspiracy Described in James Log Entry # 375                                     (transcript)      (transcript)      N/A

                                                                                                                             INV_00005141-5142;
                                                                                                                             INV_00005182;
   976     Communication in Furtherance of Conspiracy Described in James Log Entry # 376                                     INV_00005185-91                     N/A
  977      Email re Final [5530JD] Invoice Payment, dated 11.28.2018                                                         NAC_E_00059950     NAC_E_00059951
  978      Email re Kimberley Tew $10,000 Invoice, dated 12.31.2018                                                          NAC_E_00060469     NAC_E_00060470
  979      Email re ACH Payment Questions, dated 04.17.2019                                                                  NAC_E_00100476
  980      Email re Lululemon Order Confirmation to Amy Tew, dated 11.04.2018                                                SW_FIL_00003054                     SW_FIL_00011402 - SW_FIL_00011407
  981      Email re Lilky Pulitzer Shipping Confirmation to Amy Tew, dated 10.18.2018                                        SW_FIL_00006094                     SW_FIL_00011402 - SW_FIL_00011407
  982      Email re Lilky Pulitzer Order Confirmation to Amy Tew, dated 10.17.2018                                           SW_FIL_00006901                     SW_FIL_00011402 - SW_FIL_00011407
  983      Email re Saks Fifth Avenue Order Confirmation to Amy Tew, dated 10.18.2018                                        SW_FIL_00008364                     SW_FIL_00011402 - SW_FIL_00011407
  984      Email re Zappos Order Confirmation to Amy Tew, dated 11.03.2018                                                   SW_FIL_00009825                     SW_FIL_00011402 - SW_FIL_00011407
   985     Email re Kimberley Tew Introduction & Contact Information, dated 01.30.2018                                       NAC_E_00058418
   986     Invoice #001 re: Kimberley Tew for $10,000.00, dated 02.08.2018                                                   NAC_00000731
987-1000   INTENTIONALLY LEFT BLANK
  1001
  1002
  1003
  1004
  1005




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